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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS


                                                       )
 IN RE: YASMIN AND YAZ (DROSPIRENONE)                  )     3:09-md-02100-DRH-PMF
 MARKETING, SALES PRACTICES AND                        )
 PRODUCTS LIABILITY LITIGATION                         )     MDL No. 2100
                                                       )

 This Document Relates To:

       The Member Actions Subject to the Parties’ Stipulation of Dismissal (MDL 2100 Doc.
       3470) and Identified in Exhibit 1 Attached Thereto (MDL 2100 Doc. 3470-1)

                             JUDGMENT IN A CIVIL CASE

 HERNDON, Chief Judge:

       DECISION BY COURT. The member actions identified in Exhibit 1 to
 the parties’ stipulation of dismissal (MDL 2100 Doc. 3470-1) are before the
 Court for the purpose of docket control.
        IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the
 Stipulation of Dismissal filed on August 22, 2014 (MDL 2100 Doc. 3470) and
 the Court’s Order acknowledging the same (MDL 2100 Doc. 3482), the member
 actions identified in Exhibit 1 to the parties’ stipulation of dismissal (Doc. 3470-1) are
 DISMISSED with prejudice. Each party shall bear their own costs.
                                                 JUSTINE FLANAGAN,
                                                 ACTING CLERK OF COURT

                                                 BY:       /s/Caitlin Fischer
                                                           Deputy Clerk
 Dated: September 2, 2014
                                      Digitally signed by
                                      David R. Herndon
                                      Date: 2014.09.02
 APPROVED:                            12:44:11 -05'00'
              CHIEF JUDGE
              U. S. DISTRICT COURT
